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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 18-62942-CIV-DIMITROULEAS/SNOW

   ABS-CBN CORPORATION, et al.,

                 Plaintiffs,
   vs.

   CINESILIP.SU, et al.,

                 Defendants.
                                                 /

              ORDER GRANTING MOTION FOR FINAL DEFAULT JUDGMENT

         THIS CAUSE is before the Court upon Plaintiffs’ Motion for Entry of Final Default

  Judgment against Defendants (the “Motion”) [DE 26], filed herein on March 12, 2019. The

  Court has carefully considered the Motion [DE 26] and is otherwise fully advised in the

  premises.
         On February 22, 2019, the Clerk entered a default against Defendants, the Individuals,

  Partnerships and Unincorporated Associations identified on Schedule ‘A” to Plaintiffs’ instant

  Motion (collectively “Defendants”) for failure to appear, answer or otherwise plead to the

  complaint filed herein within the time required. See [DE 24]. Thereafter, on March 12, 2019,

  Plaintiffs filed the instant Motion [DE 26] seeking a default judgment against Defendants. On

  March 13, 2019, the Court issued an Order to Show Cause why this Motion should not be granted.

  [DE 27]. Defendants failed to respond.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.     Plaintiffs’ Motion [DE 26] is hereby GRANTED.

         2.     In accordance with Federal Rule of Civil Procedure 58, a separate final judgment

                will be entered.
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         3.     Plaintiffs are ordered to serve a copy of this Order upon Defendants (a) via e-mail

                to the e-mail addresses provided by each Defendant as part of the domain

                registration records for each of their respective domain names, including service

                via registrar, or directly on the Internet websites operating under each of their

                corresponding domain names, including customer service e-mail addresses and

                onsite contact forms, or via the social media platform e-mail for each of the

                Defendants’ social media accounts; and (b) by posting a true and accurate copy of

                the     foregoing      on      the     Internet     website      appearing       at

                http://servingnotice.com/BF1SS/index.html.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida, this

  27th day of March, 2019.




  Copies provided to:
  Counsel of Record




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